












Affirmed and Memorandum Opinion filed July 8, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00768-CR

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&nbsp;

TERRANCE JERAMINE BUNDAGE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 230th District Court

Harris County, Texas

Trial Court Cause No. 924750

&nbsp;



&nbsp;

MEMORANDUM
OPINION

A jury convicted appellant of murder and sentenced him to confinement
for eighteen years in the Institutional Division of the Texas Department of
Criminal Justice.&nbsp; Appellant filed a timely notice of appeal.

Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit. The brief meets the requirement
of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), by presenting
a professional evaluation of the record and demonstrating why there are no
arguable grounds to be advanced. See High v. State, 573 S.W.2d 807 (Tex.
Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). &nbsp;Appellant was given additional time to file a pro se response.&nbsp; As
of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit. Further, we find no reversible error in the
record. We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review. See Bledsoe v. State, 178 S.W.3d 824, 827–28 (Tex.
Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Frost, Boyce, and Sullivan.&nbsp; 

Do Not Publish — Tex. R. App. P. 47.2(b).





